            Case 2:11-cr-00262-WBS Document 26 Filed 06/21/11 Page 1 of 2


 1 HAYDN-MYER LAW CORPORATION
   Christopher Haydn-Myer, Bar #176333
 2 1478 Stone Point Drive, Suite 400
   Roseville, California 95661
 3 Telephone: (916) 622-1703
   Fax: (916) 760-2767
 4 email: chrishaydn@sbcglobal.net
 5 Attorney for Defendant
   ERIK SOLISFOX
 6
 7                      IN THE UNITED STATES DISTRICT COURT
 8                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10 UNITED STATES OF AMERICA,               )    CASE NO. 11-MJ-0156
                                           )
11                     Plaintiff,          )    STIPULATION AND ORDER
                                           )    MODIFYING MR. SOLISFOX’S
12 v.                                      )    SECURED BOND
                                           )
13 ERIK SOLISFOX,                          )    Date: June 24th, 2011
                                           )    Time: 2:00 p.m.
14                                         )    Judge: Hon. Edmund F. Brennan
                       Defendant.          )
15                                         )
                                           )
16
          Defendant, ERIK SOLISFOX, through Christopher Haydn-Myer,
17
     attorney at law, and the United States of America, through Assistant
18
     U.S. Attorney Jason Hitt, agree as follows:
19
          On June 13th, 2011, the honorable Magistrate Judge Kendall J.
20
     ordered that defendant SOLISFOX be released on a $50,000.00 bond.      Of
21
     the $50,000.00 bond, $20,000.00 was to be secured collateral posted by
22
     Mrs. Silvia Flores [Doc. 7].     Accordingly, Ms. Flores posted
23
     $14,247.12 in U.S. Savings Bonds EE, and the title to her 2004 Acura
24
     with the Court Clerk’s Office.
25
          The parties are in agreement that SOLISFOX’s conditions of
26
     release may be modified to allow Mrs. Flores to draft a cashiers check
27
     made payable to the United States Courts Court Clerk's Office in the
28

                                            1
            Case 2:11-cr-00262-WBS Document 26 Filed 06/21/11 Page 2 of 2


 1 amount of $5,752.88.      After the cashiers check has been deposited with
 2 the Court Clerk’s Office, the title to Mrs. Flores 2004 Acura may be
 3 returned to her.
 4
 5 Dated: June 20th, 2011
                                            Respectfully submitted,
 6
                                            /s/ Christopher Haydn-Myer
 7                                          ________________________________
                                            CHRISTOPHER HAYDN-MYER
 8                                          Attorney for Defendant
                                            Erik Solisfox
 9
10 DATED: June 20th, 2011                   BENJAMIN B. WAGNER
                                            United States Attorney
11
                                            /S/ Christopher Haydn-Myer for
12                                          Jason Hitt
                                            Assistant U.S. Attorney
13
14
15                                        ORDER
16 FOR GOOD CAUSE SHOWN, IT IS SO ORDERED that Mr. Solisfox’s conditions
17 of release may be modified to allow Mrs. Flores to draft a cashiers
18 check made payable to the United States Courts Court Clerk's Office in
19 the amount of $5,752.88.       After the cashiers check has been deposited
20 with the Court Clerk’s Office, the title to Mrs. Flores 2004 Acura may
21 be returned to her.
22 Dated:    June 21, 2011.
23
24
25
26
27
28

                                            2
